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                  Exhibit A
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                                         POLICY CHANGE 5
           Effective 06/19/2018 , this endorsement forms a part of Policy No.   711-01-61-78-0000
                (At the time stated in the policy)
           issued to
                  BITMAIN INC.
                  (See ASC 00 11 01 98, Schedule 2)
                  STE 210
                  640 W CALIFORNIA AVE
                  SUNNYVALE, CA 94086-3624
                  Producer: USI INSURANCE SERVICES NATIONAL, INC.

           by   Atlantic Specialty Insurance Company




   In Accordance with this Policy Change Your Premium is Revised as follows:

                                              No Change in Premium




                  This Policy Change Amends the Following Policy Provisions:


                         Common Policy Declarations, 4 VIL 100 10 98

Amend Named Insured:
  BITMAIN INC.

Amend Form(s):
  ASC 00 11 01 98                                  Schedule 2 - NAMED INSURED




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ASC 00 10 01 98                                  E-INSURED                                      POLICY CHANGE
                                                                                                    Page 1 of 1
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                                            SCHEDULE 2

           Effective 06/19/2018 , this schedule forms a part of Policy No.   711-01-61-78-0000
                (At the time stated in the policy)
           issued to
                  BITMAIN INC.
                  (See ASC 00 11 01 98, Schedule 2)
                  STE 210
                  640 W CALIFORNIA AVE
                  SUNNYVALE, CA 94086-3624
                  Producer: USI INSURANCE SERVICES NATIONAL, INC.

           by   Atlantic Specialty Insurance Company

                                                     Named Insured
                        BITMAIN INC.

                        BUFFALO RIVER LLC

                        ANT CREEK LLC

                        BITMAIN TECHNOLOGIES LTD




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ASC 00 11 01 98                                           E-INSURED                              POLICY SCHEDULE
                                                                                                    Page 1 of 1
